          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:06cr169


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
DESMOND AARON GREENE.     )
                          )



     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 50], filed March 1, 2009.

     In this matter the Defendant pleaded guilty to conspiracy to defraud

the United States and was sentenced to 21 months imprisonment. [Doc.

35]. The Defendant appealed his sentence and the Fourth Circuit Court of

Appeals vacated his sentence and remanded for a new sentencing

hearing. [Doc. 47]. The Court has now been informed by the Government

that the Defendant has died while in the custody of the Bureau of Prisons,

thus rendering the pending re-sentencing to be moot. Based thereon the

Court finds that the Government’s motion for the dismissal of the Bill of

Indictment against this Defendant should be granted.



   Case 3:06-cr-00169-MOC-DCK     Document 51    Filed 03/03/09   Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 50] is hereby GRANTED.

     IT IS FURTHER ORDERED that the Clerk is directed to certify copies

of this Order to the United States Probation Office, United States Marshal

Service and the United States Attorney’s Office.




                                    Signed: March 3, 2009




   Case 3:06-cr-00169-MOC-DCK    Document 51         Filed 03/03/09   Page 2 of 2
